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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

DISPLAY TECHNOLOGIES LLC,             §
                                      §
      Plaintiff,                      §                     Case No: 6:21-cv-00313-ADA
                                      §
vs.                                   §                     PATENT CASE
                                      §
TOYOTA MOTOR SALES, U.S.A., INC. §
                                      §
      Defendant.                      §
_____________________________________ §

              NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Plaintiff Display Technologies, LLC (“Plaintiff” and/or “Display”) files this Notice of

Voluntary Dismissal With Prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).

According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff without order of

court by filing a notice of dismissal at any time before service by the adverse party of an answer.

Accordingly, Plaintiff hereby voluntarily dismisses this action against Defendant Toyota Motor

Sales, U.S.A., Inc. with prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party to bear its own

fees and costs.




NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE                                               |1
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Dated: March 24, 2022.                 Respectfully submitted,


                                       /s/Jay Johnson
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                                       State Bar No. 11547550
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                                       ATTORNEYS FOR PLAINTIFF


                               CERTIFICATE OF SERVICE

      The undersigned hereby certifies that the foregoing document was filed electronically on
March 24, 2022, and was served via CM/ECF on all counsel who are deemed to have consented
to electronic service.

                                       /s/Jay Johnson
                                       JAY JOHNSON




NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE                                           |2
